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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION




UNITED STATES OF AMERICA,

                Plaintiff,
                                                         CASE NO. 1:04-CR-268
v.
                                                         HON. ROBERT HOLMES BELL
LARRY LERON LEWIS,

                Defendant.
                                    /


                        MEMORANDUM OPINION AND ORDER

        This matter is before the Court on defendant’s Motion for Modification or

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) (docket #136). Based on a

review of defendant’s motion, the Sentence Modification Report, submissions by counsel

on behalf of the defendant and the government, and the original criminal file, the Court

has determined that the motion should be denied for the following reason(s):

        1.      Defendant was sentenced to the mandatory minimum of 120
                months in custody at the time of sentencing on April 28, 2005.
                The Sentencing Guidelines provide that “where a statutorily
                required minimum sentence is greater than the maximum of
                the applicable guideline range, the statutorily required
                minimum sentence shall be the guideline sentence.” USSG
                §5G1.1(b). Since Amendment 706 does not result in a lower
                guideline range due to the mandatory minimum sentence
                imposed, defendant is not eligible for a sentence reduction
                under 18 U.S.C. §3582(c)(2) and USSG §1B1.10.


Date:        September 28, 2009            /s/ Robert Holmes Bell
                                           ROBERT HOLMES BELL
                                           UNITED STATES DISTRICT JUDGE
